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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION
                            CASE NO.: 3:20-cv-1455-J-39MCR

TOSHIYA HIRATA,

       Plaintiff,

v.

FOBESOFT INC,
A Florida Profit Corporation,

      Defendant.
____________________________________/

                      PLAINTIFF’S NOTICE OF APPEARANCE OF
                         ALEXANDER T. HARNE, ESQUIRE

       Pursuant to the Federal Rules of Civil Procedure, Plaintiff, TOSHIYA HIRATA, notifies

this Court of the appearance of Alexander T. Harne, Esq. of Richard Celler Legal, P.A. as Co-

Counsel in the above referenced matter and request that any and all pleadings, discovery,

deposition notices, hearing notices, motions, correspondence, and any and all other documents be

forwarded to the attention of the undersigned attorneys via the CM/ECF System.

       Dated this 12th day of January, 2021.

                                                   Respectfully submitted,

                                                   /s/ Alexander T. Harne_
                                                   Alexander T. Harne, Esq.
                                                   Florida Bar No. 126932
                                                   RICHARD CELLER LEGAL, P.A.
                                                   10368 W. State Rd 84, Suite 103
                                                   Davie, Florida 33324
                                                   Telephone: (866) 344-9243
                                                   Facsimile: (954) 337-2771
                                                   E-mail: aharne@floridaovertimelawyer.com

                                                   Counsel for Plaintiff
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 12th day of January, 2021, a true and correct copy of the

foregoing has been filed using CM/ECF system which I understand will send a copy to all counsel

of record.


                                                   /s/ Alexander T. Harne_
                                                   Alexander T. Harne, Esq.
